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                               UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                      Case Number 4:05cr3029

                                                        USM Number 19285-047

JEFFREY D. MATTSON
                 Defendant
                                                        Andrew D. Strotman

                                                        Defendant’s Attorney
___________________________________

                                JUDGMENT IN A CRIMINAL CASE
                      (For Offenses Committed On or After November 1, 1987)

THE DEFENDANT pleaded guilty to count I of the Information on May 31, 2005

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):

                                                             Date Offense               Count
          Title, Section & Nature of Offense                  Concluded               Number(s)


 16:3372(a) and 3373(d)(2) and 18:2: GAME                November 13, 2005                  I
 CONSERVATION ACTS

The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

Following the imposition of sentence, the Court advised the defendant of his right to appeal
pursuant to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and
that such Notice of Appeal must be filed with the Clerk of this Court within ten (10) days of this date.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                                      Date of Imposition of Sentence:
                                                                                     August 15, 2005

                                                                           s/ David L. Piester
                                                                      United States Magistrate Judge

                                                                              August 23,2005
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                                            PROBATION

The defendant is hereby sentenced to probation for a term of 3 Years.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not illegally possess a controlled substance.

For offenses committed on or after September 13, 1994:

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

If this judgment imposes a fine or a restitution obligation, it shall be a condition of probation that the
defendant pay any such fine or restitution in accordance with the Schedule of Payments set forth
in the Criminal Monetary Penalties sheet of this judgment.

The defendant shall comply with the standard conditions that have been adopted by this court (set
forth below). The defendant shall also comply with any additional conditions.

                        STANDARD CONDITIONS OF SUPERVISION

1.      the defendant shall not leave the judicial district without the permission of the court or
        probation officer;
2.      the defendant shall report to the probation officer and shall submit a truthful and complete
        written report within the first five days of each month;
3.      the defendant shall answer truthfully all inquiries by the probation officer and follow the
        instructions of the probation officer;
4.      the defendant shall support his or her dependents and meet other family responsibilities;
5.      the defendant shall work regularly at a lawful occupation, unless excused by the probation
        officer for schooling, training, or other acceptable reasons;
6.      the defendant shall notify the probation officer at least ten days prior to any change in
        residence or employment;
7.      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess,
        use, distribute, or administer any controlled substance or any paraphernalia related to any
        controlled substances, except as prescribed by a physician;
8.      the defendant shall not frequent places where controlled substances are illegally sold, used,
        distributed, or administered;
9.      the defendant shall not associate with any persons engaged in criminal activity and shall
        not associate with any person convicted of a felony, unless granted permission to do so by
        the probation officer;
10.     the defendant shall permit a probation officer to visit him or her at any time at home or
        elsewhere and shall permit confiscation of any contraband observed in plain view of the
        probation officer;
11.     the defendant shall notify the probation officer within seventy-two hours of being arrested
        or questioned by a law enforcement officer;
12.     the defendant shall not enter into any agreement to act as an informer or a special agent
        of a law enforcement agency without the permission of the court;
13.     as directed by the probation officer, the defendant shall notify third parties of risks that may
        be occasioned by the defendant’s criminal record or personal history or characteristics and
        shall permit the probation officer to make such notifications and to confirm the defendant’s
        compliance with such notification requirement.
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                             SPECIAL CONDITIONS OF SUPERVISION


1.      Paragraph # 7 of the Standard Conditions of Supervision is modified, i.e., instead of merely refraining
        from excessive use of alcohol, the defendant shall not purchase or possess, use, distribute or
        administer any alcohol, just the same as any other narcotic or controlled substance.

2.      The defendant shall be subject to the search of the defendant’s premises, vehicle or person, day or
        night, with or without a warrant, at the request of the United States Probation officer to determine the
        presence of alcohol and/or controlled substances, firearms, illegally obtained wildlife, or any other
        contraband. Any such items found may be seized by the United States Probation officer. This
        condition may be invoked with or without the cooperation of law enforcement officers.

3.      The defendant shall attend, pay for and successfully complete any diagnostic evaluation, treatment
        or counseling program, or approved support groups (e.g., AA/NA) for alcohol and/or controlled
        substance abuse, as directed by the United States Probation officer.

4.      The defendant shall not hunt or accompany other persons who are hunting but the defendant may
        fish or trap.

5.      The defendant shall complete 50 hours of community service as approved and directed by the United
        States Probation Officer. The defendant shall be responsible for providing the United States
        Probation Officer with written proof of the number of hours completed.

6.      The defendant shall pay a fine in the amount of $850.00 to the Clerk of the United States District
        Court, 111 S. 18th Plaza, Suite 1152, Omaha, Nebraska 68102. This amount is due immediately.

7.      The defendant shall provide the United States Probation officer with access to any requested financial
        information.

8.      The $25.00 special assessment is due immediately. Payment should be made to the Clerk of the
        United States District Court, 111 S. 18th Plaza, Suite 1152, Omaha, Nebraska 68102.

9.      The requirement of 18 U.S.C. § 3563 (a) (5) regarding drug testing, is suspended until further order
        of the court because the presentence investigation report on the defendant and other reliable
        sentencing information indicates a low risk of future substance abuse by the defendant.

10.     The defendant shall report to the United States Probation office for the District of Nebraska between
        the hours of 8:00am and 4:30pm, 300 DT Building, 212 North Wahsatch Avenue, Colorado Springs,
        Colorado, (719) 471-3387, within seventy-two (72) hours of being placed on probation and, thereafter,
        as directed by the probation officer.
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                           CRIMINAL MONETARY PENALTIES


The defendant shall pay the following total criminal monetary penalties in accordance with the
schedule of payments set forth in this judgment.

      Total Assessment                   Total Fine                  Total Restitution
            $25.00                         $850.00                         None




                                            FINE

A Fine in the amount of $850.00 is imposed.

The defendant shall pay interest on any fine or restitution of more than $2,500, unless the
fine or restitution is paid in full before the fifteenth day after the date of the judgment,
pursuant to 18 U.S.C. § 3612(f). All of the payment options in the Schedule of Payments
may be subject to penalties for delinquency and default pursuant to 18 U.S.C. § 3612(g).

                                       RESTITUTION

       No restitution was ordered.
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                                     SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, the court orders that payment of the total criminal
monetary penalties shall be due as follows:


        The defendant shall pay the special assessment in the amount of $25.00.

Unless the court has expressly ordered otherwise in the special instruction above, if this judgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment. All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the
court, unless otherwise directed by the court, the probation officer or the United States attorney.

All financial penalty payments are to be made to the Clerk of Court for the District of Nebraska, P.O.
Box 83468, Lincoln, NE 68501.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

The defendant shall inform the probation officer of any change in his or her economic
circumstances affecting the ability to make monthly installments, or increase the monthly payment
amount, as ordered by the court. In the event a defendant is able to make a full or substantial
payment toward the remaining criminal monetary penalty, he or she shall do so immediately.

The defendant is restrained from transferring any real or personal property, unless it is necessary
to liquidate and apply the proceeds of such property as full or partial payment of the criminal
monetary penalty.




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3)
restitution interest, (4) fine principal, (5) community restitution, (6) fine interest, (7) penalties, and
(8) costs, including cost of prosecution and court costs.




CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
